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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                 ____________________

UNITED STATES OF AMERICA,
                                                     No. 1:21-cr-00040
               Plaintiff,
v.                                                   Hon. Robert J. Jonker
                                                     United States District Court Judge
CHRISTOPHER ALLAN BODEN,

            Defendant.
_____________________________________/

DEFENDANT'S UNOPPOSED MOTION FOR EARLY TERMINATION OF
       SUPERVISED RELEASE, AND SUPPORTING BRIEF

       Supervised Releasee Christoper Allan Boden ("Mr. Boden"), by and through his counsel,

seeks an Order from this Honorable Court for Early Termination of Supervised Release. Mr.

Boden served his custodial sentence at two different U.S. Bureau of Prisons (“BOP”) facilities

and, upon release, returned to his home community in Western Michigan, where he diligently

began working to satisfy the remaining requirements of his sentence. In late 2024, his restitution

obligation was paid, and by January 2025, he completed his community service hours. Having

now served over 19 months of his supervised release, he is currently on Administrative

Supervision, which is scheduled to end on October 5, 2026.

       Post incarceration, Mr. Boden returned to employment with Commonwealth Energy,

where he is responsible for the engineering and repair of a fleet of small hydro-electric power

plants. In addition to his job with Commonwealth Energy, Mr. Boden now hopes to resume his

passion of educating others by launching a professional services and consulting company

providing current, accurate information about the BOP. Specifically, Mr. Boden's prospective


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clients are: (1) those who have been convicted of a federal criminal offense and are waiting to

report to (or be transported to) their designated BOP facility; (2) those charged with federal

crimes but not convicted; and (3) their family members and friends who have questions and

concerns. Exhibit A (attached) outlines these "Transition Services" Mr. Boden hopes to offer and

the contemplated rates for his consulting services. However, Mr. Boden understands that he

cannot effectively, nor legally, launch this business venture under the terms of his Supervised

Release, as under Standard Condition No. 8, each new potential client would require pre-

approval by the US Probation Office (“USPO”).

       Standard Condition of Supervised Release No. 8 reads:

               You must not communicate or interact with someone you know is engaged
               in criminal activity. If you know someone has been convicted of a felony,
               you must not knowingly communicate or interact with that person without
               first getting the permission of the probation officer.

(Dkt# 106, PageID.988). Indeed, the very advertising of this business venture to acquire potential

clients without such pre-approval from the USPO could constitute solicitation of a violation of

Standard Condition No. 8. Consequently, we are seeking this relief.

       In support of this request, we respectfully submit:

1.     Mr. Boden has devoted his entire adult life to teaching people about science and technology.

At age 18 he founded The Geek Group, a nonprofit “makerspace” that aimed to provide access to

education and tools in STEM fields. Since its creation in 1994, the Geek Group grew and

rebranded as the National Science Institute, remaining in operation until the execution of a federal

search warrant in 2018, thus beginning Mr. Boden's journey through the federal criminal justice

system.

2.     Mr. Boden spent his incarceration working in education. Recognizing that FCI Oxford's

GED training program was years out of date, Mr. Boden, at his own expense, ordered his own


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   complete set of teaching materials for the exact same brand of GED tests that the BOP used, and

   began offering his own classes in Language Arts, Social Studies, Science, and Mathematics.

   Within six months, he was recruited into the education department, where he shifted his efforts to

   teaching Special Education with a focus on reading disorders, specifically dyslexia, all while using

   his own materials. Upon information and belief, FCI Oxford experienced a record-setting year of

   GED graduates through Mr. Boden's efforts. The dyslexic educational program that Mr. Boden

   purchased himself and provided to the facility was so successful that FCI Oxford purchased several

   copies and now uses it as standard.

   3.      Last year, undersigned counsel met with then Federal Public Defender Sharon Turek and

   other seasoned federal criminal defense practitioners at the Federal Defender's Office where

   undersigned counsel shared Exhibit A and described Mr. Boden's experience in the BOP system.

   Specifically, undersigned counsel explained that Mr. Boden recognized that incoming prisoners

   entered the BOP with a dearth of knowledge of what to expect, and that uncertainty and

   misinformation created extensive and needless difficulties for inmates adjusting to and navigating

   the BOP. Undersigned counsel met with several colleagues who also recognized the potential that

   exists to leverage Mr. Boden as a resource to assist soon-to-be federal inmates and their families.

   This is a hole that the government has never successfully filled, and many existing businesses do

   poorly yet collect high fees. Mr. Boden has both the knowledge and ability to be a truly worthwhile

   resource to many for more modest costs.

4. Mr. Boden’s completion of his custodial sentence, the fulfillment of his financial obligations and

   community service hours, and his successful reintegration efforts, support the conclusion that

   continued supervised release is no longer necessary. For these reasons, Defendant Christoper

   Boden respectfully requests that this Honorable Court grant the requested relief of Early

   Termination of Supervised Release.

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5. Pursuant to Local Criminal Rule 12.4, undersigned counsel conferred with both the US Probation

   Office and the United States Attorney’s Office, and neither office opposes Mr. Boden’s request for

   early termination of supervised release.

                                        SUPPORTING BRIEF

          “Wanna see something cool?” is the opening tagline to many of Mr. Boden’s YouTube

   videos, usually said immediately before a short and captivating presentation on subjects ranging

   from electrical engineering to industrial machinery. His quick wit and clarity now have attracted

   over one million YouTube subscribers and have made science and engineering approachable for

   many who might otherwise never engage with such topics: a reflection of his ability to distill

   complex concepts into accessible content for the public.

          Mr. Boden’s skill as a communicator is matched by his passion for education and public

   service. With a background as an author, engineer, and educator, and informed by his own

   experience in the federal justice system, Mr. Boden now seeks to apply his expertise in a new way:

   by helping individuals facing incarceration understand the Bureau of Prisons system; prepare for

   custody; and access rehabilitative programming. His goal is not to encourage criminal association,

   but to promote understanding, accountability, and reentry readiness by reducing confusion,

   lowering stress, and encouraging engagement with constructive resources at an early stage in the

   justice process. It is a meaningful and appropriate way for him to use his skills for the benefit of

   the community, only possible now through Early Termination of Supervised Release.

          Pursuant to 18 U.S.C 3583(e),

                  Modification of Conditions or Revocation. The court may, after considering
                  the factors set forth in section 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D),
                  (a)(4), (a)(5), (a)(6), and (a)(7)

                  (1) Terminate a term of supervised release and discharge the defendant
                  released at any time after the expiration of one year of supervised release,


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               pursuant to the provisions of the Federal Rules of Criminal Procedure
               relating to the modification of probation, if it is satisfied that such action is
               warranted by the conduct of the defendant released and the interest of
               justice.

On October 5, 2023, over 19 months prior to the filing of this motion, Mr. Boden completed his

custodial sentence and has since been under supervised release.

        A significant factor of supervised release is to allow the court time to monitor a defendant’s

behavior to ensure the defendant is not a threat to the public. Mr. Boden understands that protecting

the public is, and should be, the priority of this Court. Standard Condition of Supervision No. 8,

which prohibits supervised releasees from contacting those “engaged in criminal activity” and

those “convicted of a felony” without prior approval of the USPO, is one such means of protecting

the public. On its face, a business that requires fraternizing with criminals appears to go against

the interest of public safety, but in this case, it is quite the opposite. Mr. Boden understands

firsthand the confusion of the federal justice system and wants to bring clarity to others in this

position by educating those convicted of federal crimes in navigating one’s path through the BOP

and back into society. Mr. Boden’s interest in communicating with these future federal inmates and

their families is not to further or encourage any criminal activity, but instead to provide current,

accurate information about the BOP before entry and upon completion of incarceration. The

requested relief is necessary for Mr. Boden to remain compliant with the terms of his supervised

release, which is scheduled to continue until October 5, 2026.

       Mr. Boden’s commitment to rehabilitation is underscored by his participation in

correctional education while incarcerated, where he provided his own resources to educate fellow

inmates. Empirical evidence strongly supports the conclusion that educational engagement in

prison significantly reduces the risk of reoffending. In fact, incarcerated individuals who




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participated in educational programs were 43% less likely to recidivate compared to those who did

not.1

        Mr. Boden hopes to continue giving back to his community by offering his skills and

services as a transition consultant for those anticipating conviction or already convicted of federal

crimes. He aims to use the experience and knowledge he gained in prison to help others prepare

for incarceration, and to inform these potential clients of helpful federal programs that are offered.

He envisions meeting with prospective clients to answer any questions and provide personalized

advice regarding what to expect in the BOP, how to apply for various programs, and how to

otherwise prepare for incarceration. Mr. Boden’s objectives are fully aligned with the government’s

interest in maximizing the effective use of resources to rehabilitate and reintegrate individuals with

felony convictions.

        Supervised release also allows a defendant time to make full restitution. Mr. Boden's

restitution obligation has been fully satisfied, and he intends to use income from this proposed

business to help satisfy other debts incurred because of this case. Indeed, this business is another

form of restitution, as Mr. Boden would be continuing to repay his debt to society by helping others

in the community gain access to the support, skills, and opportunities they need to avoid recidivism

and thrive post incarceration. In addition to offering in-person consultations for those residing in

West Michigan, Mr. Boden anticipates offering his services remotely for anyone convicted of

federal crimes from other districts, potentially providing nationwide benefits.




1Education and Vocational Training in Prisons Reduces Recidivism, Improves Job Outlook, Rand
Corporation, August 22, 2013, https://www.bja.gov/Publications/RAND_Correctional-
Education-Meta-Analysis.pdf


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Mr. Boden has demonstrated a lifelong commitment to hard work and community contribution. He

has served as an author, engineer, and educator, producing educational science content to promote

public understanding and learning. For example, since his discharge from prison, Mr. Boden

created The Atmosfär Project, a YouTube channel curated specifically to provide calming, focused

content for people dealing with autism and anxiety. Drawing from his own experiences, he

designed the channel to be a meditative space in a chaotic world. The videos feature visually

captivating machines and scenes, paired with carefully crafted soundscapes that emphasize

repetition, rhythm, and stillness. There is no narration or fast edits; simply a chance for viewers to

reset, relax, or find clarity when overwhelmed. These videos can be used by teachers, caregivers,

and parents as tools to help individuals with autism and anxiety to calm down, focus, or even sleep.

The Atmosfär Project Channel is not monetized as it was not created as a money-making venture.

Rather, Mr. Boden simply states, “I didn’t do it to get paid, I did it just because it can help people

and people matter.” That simple principle captures his mindset and his mission.

                                          CONCLUSION

       Having served on supervised release for over 19 months, and with his restitution and

community service obligations full satisfied, Mr. Boden seeks early termination of his now

administrative supervision so that he can use his experience and skills as a educator to assist others

preparing for incarceration by helping them understand the transition into federal custody. He

hopes to continue using his skills and strong work ethic for the benefit of his community by

interacting and communicating with people charged with and/or convicted of federal felonies to

help them transition to federal prison; not to undermine the purpose of supervised release, but to

advance it. For these reasons, Defendant Christoper Boden respectfully requests that this

Honorable Court grant the requested relief of Early Termination of Supervised Release.




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Dated: May 16, 2025                /s/Brian P. Lennon
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